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SENT cou U.S. Department of Justice
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SB United States Attorney
District of Connecticut
Connecticut Financial Center (203)821-3700
157 Church Street, 25" Floor Fax (203) 773-5376
New Haven, Connecticut 06510 www _justice.gov/usao/ct

December 12, 2019

Allison Near, Esq.

Office of the Federal Public Defender q
265 Church St SuWict OF Connecticut
Suite 702 rooZD AL BRIDGEPORT
New Haven, CT 06510-7005 ieee pec ld V 1290 14

   

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Re: United States v. Jennifer O’Brien oy
Case No. 3:19 CRS (VAB) Deputy

Dear Ms. Near:

This letter confirms the plea agreement between your client, Jennifer O’Brien (the
“defendant’’), and the United States Attorney’s Office for the District of Connecticut (the
“Government”) in this criminal matter.

THE PLEA AND OFFENSE

In consideration for the benefits offered under this agreement, the defendant agrees to
plead guilty to a three-count information charging violations of 26 U.S.C. § 7203 (willful failure

to file tax returns).

The defendant understands that, to be guilty of this offense, for each count, the following
essential elements must be satisfied:

1. That the defendant was required to file an income tax return for the tax year in
question;

2. That the defendant failed to file an income tax return for the tax year in question; and

3. That the defendant’s failure to file an income tax return for the tax year in question
was knowing and willful.
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THE PENALTIES

Imprisonment

For each count, the offense carries a maximum penalty of | year of imprisonment.

Supervised Release

In addition, for each count, the Court may impose a term of supervised release of not
more than | year to begin after any term of imprisonment. 18 U.S.C. § 3583.

The defendant understands that, for each offense, should she violate any condition of
supervised release, she may be required to serve a further term of imprisonment of up to 1 year
per violation pursuant to 18 U.S.C. § 3583 with no credit for time already spent on supervised
release

Fine

For each count, the offense includes a penalty of the costs of prosecution, which the
Government will not seek in this case because the defendant is pleading guilty. Also, for each
count, the offense carries a maximum fine of $25,000. The defendant is also subject to the
alternative fine provision of 18 U.S.C. § 3571. Under this section, the maximum fine that may
be imposed on the defendant is the greatest of the following amounts: (1) twice the gross gain to
the defendant resulting from the offense; (2) twice the gross loss resulting from the offense; or
(3) $100,000.

Special Assessment

In addition, the defendant is obligated by 18 U.S.C. § 3013 to pay a special assessment of
$25 on each count of conviction. The defendant agrees to pay the special assessment to the
Clerk of the Court on the day the guilty plea is accepted.

Restitution

The defendant agrees to pay restitution to the Internal Revenue Service pursuant to 18
U.S.C. § 3663(a)(3), and that the Court should order restitution to be paid as set forth below.
The defendant agrees that restitution is $139,007 for the Tax Years 2012 through 2014 as set
forth below:

 

 

 

 

 

 

 

Tax Year Tax Due
2012 $37,210
2013 $76,135
2014 $25,662
Total $139,007

 

 
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The defendant agrees that she will sign the IRS forms deemed necessary by the IRS to enable it
to make assessment of the agreed-upon criminal restitution, including agreeing to sign IRS Form
8821, “Tax Information Authorization.” The defendant further agrees to allow the contents of her
IRS criminal file to be given to civil attorneys and support staff of the United States Attorney’s
Office and the IRS to enable them to investigate any taxes owed by the defendant, including, but
not limited to, any civil penalties and interest. With respect to disclosure of the criminal file to
the above-listed individuals and entities, the defendant waives any rights the defendant might
hold under 26 U.S.C. §§ 6103, 7213, and Fed. R. Crim. P. 6(e). The defendant further waives
any other rights she might have to non-disclosure of tax-related information. The defendant
agrees as a special condition of probation or supervised release that she will cooperate with the
IRS to pay all outstanding taxes, interest, and penalties.

If the Court orders the defendant to pay restitution to the IRS for the failure to pay tax,
either directly as part of the sentence or as a condition of probation or supervised release, the IRS
will use the restitution order as the basis for a civil assessment. 26 U.S.C. § 6201(a)(4). The
defendant does not have the right to challenge the amount of this assessment. 26 U.S.C.

§ 6201(a)(4)(C). Neither the existence of a restitution payment schedule nor the defendant’s
timely payment of restitution according to that schedule will preclude the IRS from
administrative collection of the restitution-based assessment, including levy and distraint under
26 U.S.C. § 6331.

Interest. penalties and fines

Unless otherwise ordered, should the Court impose a fine or restitution of more than
$2,500 as part of the sentence, interest will be charged on the unpaid balance of the fine or
restitution not paid within 15 days after the judgment date. 18 U.S.C. § 3612(f). Other penalties
and fines may be assessed on the unpaid balance of a fine or restitution pursuant to 18 U.S.C.

§ 3572(h), (2) and § 3612(g).

THE SENTENCING GUIDELINES

Applicability

The defendant understands that the Court is required to consider any applicable
Sentencing Guidelines as well as other factors enumerated in 18 U.S.C. § 3553(a) to tailor an
appropriate sentence in this case and is not bound by this plea agreement. The defendant agrees
that the Sentencing Guideline determinations will be made by the Court, by a preponderance of
the evidence, based upon input from the defendant, the Government, and the United States
Probation Office. The defendant further understands that she has no right to withdraw her guilty
plea if her sentence or the Guideline application is other than he anticipated, including if the
sentence is outside any of the ranges set forth in this agreement.

Acceptance of Responsibility

At this time, the Government agrees to recommend that the Court reduce by two levels
the defendant’s adjusted offense level under § 3E1.1(a) of the Sentencing Guidelines, based on
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the defendant’s prompt recognition and affirmative acceptance of personal responsibility for the
offense. Moreover, should the defendant qualify for a decrease under § 3E1.1(a) and her offense
level determined prior to the operation of subsection (a) is level 16 or greater, the Government
will file a motion with the Court pursuant to § 3E1.1(b) which recommends that the Court reduce
the defendant’s Adjusted Offense Level by one additional level based on her prompt notification
of her intention to enter a plea of guilty. The defendant understands that the Court is not
obligated to accept the Government’s recommendations on the reductions.

The above-listed recommendations are conditioned upon the defendant’s affirmative
demonstration of acceptance of responsibility, by (1) truthfully admitting the conduct comprising
the offense(s) of conviction and truthfully admitting or not falsely denying any additional
relevant conduct for which the defendant is accountable under § 1B1.3 of the Sentencing
Guidelines, and (2) disclosing to the United States Attorney’s Office and the United States
Probation Office a complete and truthful financial statement detailing the defendant’s financial
condition. The defendant expressly authorizes the United States Attorney’s Office to obtain a
credit report concerning the defendant.

In addition, the Government expressly reserves the right to seek denial of the adjustment
for acceptance of responsibility if the defendant engages in any acts, unknown to the
Government at the time of the signing of this agreement, which (1) indicate that the defendant
has not terminated or withdrawn from criminal conduct or associations (§ 3E1.1 of the
Sentencing Guidelines); (2) could provide a basis for an adjustment for obstructing or impeding
the administration of justice (§ 3C1.1 of the Sentencing Guidelines); or (3) constitute a violation
of any condition of release. Moreover, the Government reserves the right to seek denial of the
adjustment for acceptance of responsibility if the defendant seeks to withdraw her guilty plea or
takes a position at sentencing, or otherwise, which, in the Government’s assessment, is
inconsistent with affirmative acceptance of personal responsibility. The defendant understands
that she may not withdraw her plea of guilty if, for the reasons explained above, the Government
does not make one or both of the recommendations or seeks denial of the adjustment for
acceptance of responsibility.

Stipulation

Pursuant to § 6B1.4 of the Sentencing Guidelines, the defendant and the Government
have entered into the attached stipulation, which is a part of this plea agreement. The defendant
understands that this stipulation does not set forth all of the relevant conduct and characteristics
that may be considered by the Court for purposes of sentencing. The defendant understands that
this stipulation is not binding on the Court. The defendant also understands that the Government
and the United States Probation Office are obligated to advise the Court of any additional
relevant facts that subsequently come to their attention.

Guideline Stipulation

The parties agree as follows:
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The Guidelines Manual in effect on the date of sentencing is used to determine the
applicable Guidelines range.

The defendant’s base offense level under U.S.S.G. §§ 2T1.1(a)(1) and 2T4.1(F) (tax loss
between $100,000 and $250,000) is 16. That level is increased by 2 levels pursuant to U.S.S.G.
§ 3A1.1(b)(1) because the defendant shown have known that a victim of the offense was a
vulnerable victim. That level is increased by 2 levels pursuant to U.S.S.G. § 3B1.3 because the
defendant abused a position of public or private trust. Three levels are subtracted under U.S.S.G.
§ 3E1.1 for acceptance of responsibility, as noted above, resulting in a total offense level of 17.

Based on an initial assessment, the parties agree that the defendant falls within Criminal
History Category J. The parties reserve the right to recalculate the defendant’s Criminal History
Category and corresponding sentencing ranges if this initial assessment proves inaccurate.

A total offense level 17, assuming a Criminal History Category I, would result in a range
of 24 to 30 months of imprisonment (sentencing table) and a fine range of $5,000 to $50,000,
ULS.S.G. §§ SE1.2(c)(3); SE1.2(h). The defendant is also subject to a supervised release term of
1 year. U.S.S.G. § SDI.2.

The Government and the defendant reserve their rights to seek a departure or a non-
Guidelines sentence, and both sides reserve their right to object to a departure or a non-
Guidelines sentence.

The defendant understands that the Court is not bound by this agreement on the Guideline
ranges specified above. The defendant further understands that she will not be permitted to
withdraw the guilty plea if the Court imposes a sentence outside any of the ranges set forth in
this agreement.

In the event the United States Probation Office or the Court contemplates any sentencing
calculations different from those stipulated by the parties, the parties reserve the right to respond
to any inquiries and make appropriate legal arguments regarding the proposed alternate
calculations. Moreover, the parties reserve the right to defend any sentencing determination,
even if it differs from that stipulated by the parties, in any post-sentencing proceeding.

Information to the Court

The Government reserves its right to address the Court with respect to an appropriate
sentence to be imposed in this case. Moreover, the Government will discuss the facts of this
case, including information regarding the defendant’s background and character, 18 U.S.C.
§ 3661, with the United States Probation Office and will provide the Probation Officer with
access to material in its file, with the exception of grand jury material.

WAIVER OF RIGHTS

The defendant acknowledges and agrees that she is knowingly, intelligently, and
voluntarily waiving the following rights:
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Waiver of Trial Rights and Consequences of Guilty Plea

The defendant understands that she has the right to be represented by an attorney at every
stage of the proceeding and, if necessary, one will be appointed to represent her.

The defendant understands that she has the right to plead not guilty or to persist in that
plea if it has already been made, the right to a public trial, the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses against her, the right
not to be compelled to incriminate herself, the right to testify and present evidence, and the right
to compel the attendance of witnesses to testify in her defense. The defendant understands that
by pleading guilty she waives those rights and that, if the plea of guilty is accepted by the Court,
there will not be a further trial of any kind.

The defendant understands that, if she pleads guilty, the Court may ask her questions
about each offense to which she pleads guilty, and if she answers those questions falsely under
oath, on the record, and in the presence of counsel, her answers may later be used against her in a
prosecution for perjury or making false statements.

Waiver of Statute of Limitations

The defendant agrees that, should the conviction following defendant’s guilty plea be
vacated for any reason, then any prosecution that is not time-barred by the applicable statute of
limitations on the date of the signing of this plea agreement (including any indictment or counts
the Government has agreed to dismiss at sentencing pursuant to this plea agreement) may be
commenced or reinstated against the defendant, notwithstanding the expiration of the statute of
limitations between the signing of this plea agreement and the commencement or reinstatement
of such prosecution. The defendant agrees to waive all defenses based on the statute of
limitations with respect to any prosecution that is not time-barred on the date the plea agreement
is signed.

Waiver of Right to Challenge Conviction

The defendant acknowledges that under certain circumstances she is entitled to challenge
her conviction. By pleading guilty, the defendant waives her right to appeal or collaterally attack
her conviction in any proceeding, including but not limited to a motion under 28 U.S.C. § 2255
and/or § 2241. In addition to any other claims she might raise, the defendant waives her right to
challenge her conviction based on (1) any non-jurisdictional defects in the proceedings before
entry of this plea, (2) a claim that the statute(s) to which the defendant is pleading guilty is
unconstitutional, and (3) a claim that the admitted conduct does not fall within the scope of the
statute. This waiver does not preclude the defendant from raising a claim of ineffective
assistance of counsel in an appropriate forum.
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Waiver of Right to Appeal or Collaterally Attack Sentence

The defendant acknowledges that under certain circumstances, she is entitled to challenge
her sentence. In consideration for the benefits offered under this agreement, the defendant agrees
not to appeal or collaterally attack the sentence in any proceeding, including but not limited to a
motion under 28 U.S.C. § 2255 and/or § 2241 if that sentence does not exceed 30 months of
imprisonment, a 1-year term of supervised release, a $75 special assessment, $50,000 fine, and
restitution as set forth herein even if the Court imposes such a sentence based on an analysis
different from that specified above. The Government and the defendant agree that this waiver
applies regardless of whether the term of imprisonment is imposed to run consecutively to or
concurrently with, in whole or in part, the undischarged portion of any other sentence that has
been imposed on the defendant at the time of sentencing in this case. Furthermore, the parties
agree that any challenge to the defendant’s sentence that is not foreclosed by this provision will
be limited to that portion of the sentencing calculation that is inconsistent with (or not addressed
by) this waiver. This waiver does not preclude the defendant from raising a claim of ineffective
assistance of counsel in an appropriate forum.

ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA

The defendant acknowledges that she is entering into this agreement and is pleading
guilty freely and voluntarily because she is guilty. The defendant further acknowledges that she
is entering into this agreement without reliance upon any discussions between the Government
and her (other than those described in the plea agreement letter), without promise of benefit of
any kind (other than the concessions contained in the plea agreement letter), and without threats,
force, intimidation, or coercion of any kind. The defendant further acknowledges her
understanding of the nature of the offense to which she is pleading guilty, including the penalties
provided by law. The defendant also acknowledges her complete satisfaction with the
representation and advice received from her undersigned attorney. The defendant and her
undersigned counsel are unaware of any conflict of interest concerning counsel’s representation
of the defendant in the case.

SCOPE OF THE AGREEMENT

The defendant acknowledges that this agreement is limited to the undersigned parties and
cannot bind any other federal authority, or any state or local authority. The defendant
acknowledges that no representations have been made to her with respect to any civil or
administrative consequences that may result from this plea of guilty because such matters are
solely within the province and discretion of the specific administrative or governmental entity
involved. Finally, the defendant acknowledges that this agreement has been reached without
regard to any civil tax matters that may be pending or which may arise involving her.

COLLATERAL CONSEQUENCES

The defendant understands that the Government reserves the right to notify any state or
federal agency by which she is licensed, or with which he does business, as well as any current
or future employer of the fact of her conviction.
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SATISFACTION OF FEDERAL CRIMINAL LIABILITY; BREACH

The defendant’s guilty plea, if accepted by the Court, will satisfy the federal criminal
liability of the defendant in the District of Connecticut as a result of her participation in the
misappropriation of funds from D.S. in the years 2012, 2013, and 2014 and the failure to file
returns and report such income to the IRS for those years, which forms the basis of the
information in this case.

The defendant understands that if, before sentencing, she violates any term or condition
of this agreement, engages in any criminal activity, or fails to appear for sentencing, the
Government may void all or part of this agreement. If the agreement is voided in whole or in
part, the defendant will not be permitted to withdraw her guilty plea.

NO OTHER PROMISES

The defendant acknowledges that no other promises, agreements, or conditions have been
entered into other than those set forth in this plea agreement, and none will be entered into unless
set forth in writing, signed by all the parties.

This letter shall be presented to the Court, in open court, and filed in this case.
Very truly yours,
JOHN H. DURHAM

UNITED oN ON Ral

Nin R. KARATA
ASST NT UNITED STATES ATTORNEY

The defendant certifies that she has read this plea agreement letter and its attachment(s)
or has had it read or translated to her, that she has had ample time to discuss this agreement and
its attachment(s) with counsel and that she fully understands and accepts its terms.

 

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JENN erm Dat
The’Defend

I have thoroughly read, reviewed and explained this plea agreement and its attachment(s)
to my cljent who advises me that she understands and accepts its terms.

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ALLISON ar MA ESQ. Date
Attorney for the Defendant

 
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STIPULATION OF OFFENSE CONDUCT AND RELEVANT CONDUCT

The defendant and the Government stipulate to the following offense conduct and
relevant conduct that give rise to the defendant’s agreement to plead guilty to the information:

The defendant, then known as Jennifer Brokaw, assumed responsibility as Power of
Attorney for her mother, D.S., upon the death of the defendant’s father in 2012. As Power of
Attorney, the defendant had agreed, upon signing a document in September 2011, among other
things, to “exercise the powers for the benefit of the principal,” to “keep the assets of the
principal separate from my assets,” and to “exercise reasonable caution and prudence.” Despite
that agreement, the defendant exercised her powers as Power of Attorney in large part for her
own benefit. She also commingled assets, and spent a substantial percentage of the estate in a
relatively short period of time.

In late 2012, D.S., who had previously suffered a stroke, moved from Pennsylvania to
live in Connecticut with the defendant. While the defendant made certain expenditures from
D.S.’s money for D.S.’s benefit—including but not limited to improvements to the defendant’s
home for D.S.’s comfort—the defendant also spent significant amounts for purposes other than
D.S.’s benefit. For example, the defendant paid for retail shopping and car expenses which were
not for D.S., but were instead for the benefit of the defendant and her children. The defendant
admits that she misappropriated at least $510,818.70 for her own use. As the best approximation
agreed upon by the parties, those funds are divided as follows:

 

 

 

 

 

 

 

 

Calendar Year Misappropriated/Embezzled Funds
2012 $97,498.96

2013 $276,519.81

2014 $136,799.93

Total $510,818.70

 

The defendant had an obligation to file federal individual income tax returns for 2012,
2013, and 2014. The defendant had income in 2012 from the Columbia Board of Education,
sufficient that she was required to file a tax return. In each of 2012, 2013, and 2014, the
defendant also had misappropriated/embezzled funds from D.S. in amounts exceeding the filing
threshold, as noted above. For 2012, 2013, and 2014, the defendant willfully failed to file tax
returns.! For 2012, 2013, and 2014, the defendant did not report the misappropriated/embezzled
funds, which were income to her.

Total tax loss for 2012, 2013, and 2014 is agreed to be $139,007.

 

' For 2012, a fraudulent return was filed using the defendant’s information; the defendant agrees that she did not file
the return, and that the return was likely submitted as a case of identity theft. When contacted by the Internal
Revenue Service concerning the 2012 return, the defendant agreed to proposed changes which indicated that her
wages and income were $0. In fact, the defendant had income which she failed to declare to the Internal Revenue
Service.
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This written stipulation is part of the plea agreement. The defendant and the Government
reserve their right to present additional offense conduct and relevant conduct to the Court in
connection with sentencing.

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NIPER O’BRIEN JENNIFERR. LARAYA
The Defendant ASSISTANT UNITED STATES ATTORNEY

 

ALLISON NEAR, ESQ. ”
Attorney for the Defendant
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RIDER CONCERNING RESTITUTION

The Court may order that the defendant make restitution under 18 U.S.C. § 3663 as
follows:

1. Ifthe offense resulted in damage to or loss or destruction of property of a victim of the
offense:

A. Return the property to the owner of the property or someone designated by the owner; or

B. Ifreturn of the property is impossible, impracticable, or inadequate, pay an amount equal
to:

The greater of -

(I) the value of the property on the date of the damage, loss, or destruction; or

(II) the value of the property on the date of sentencing, less the value as of the date the
property is returned.

2. In the case of an offense resulting in bodily injury to a victim —

A. Pay an amount equal to the costs of necessary medical and related professional services
and devices related to physical, psychiatric, and psychological care; including non-
medical care and treatment rendered in accordance with a method of healing recognized
by the law of the place of treatment;

B. Pay an amount equal to the cost of necessary physical and occupational therapy and
rehabilitation; and

C. Reimburse the victim for income lost by such victim as a result of such offense;

3. In the case of an offense resulting in bodily injury that results in the death of the victim, pay
an amount equal to the cost of necessary funeral and related services; and

4. In any case, reimburse the victim for lost income and necessary child care, transportation,
and other expenses incurred during participation in the investigation or prosecution of the
offense or attendance at proceedings related to the offense.

The order of restitution has the effect of a civil judgment against the defendant. In
addition to the Court-ordered restitution, the Court may order that the conditions of its order of
restitution be made a condition of probation or supervised release. Failure to make restitution as
ordered may result in a revocation of probation, 18 U.S.C. § 3565, or a modification of the
conditions of supervised release, 18 U.S.C. § 3583(e). Failure to pay restitution may also result
in the defendant being held in contempt, or the defendant’s re-sentencing to any sentence which
might originally have been imposed by the Court. See 18 U.S.C. §§ 3613A, 3614. The Court
may also order that the defendant give notice to any victim(s) of her offense under 18 U.S.C. §
3509).
